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                                  No. 23-2367

                                     In the
     United States Court of Appeals
                       for the Seventh Circuit


COALITION FOR LIFE ST. LOUIS, doing business as Coalition Life,
                                                                  Plaintiff-Appellant,

                                          v.

                   CITY OF CARBONDALE, ILLINOIS,
                                                                 Defendant-Appellee.

                      _______________________________________
                     Appeal from the United States District Court
             for the Southern District of Illinois, No. 3:23-cv-01651-SPM.
               The Honorable Stephen P. McGlynn, Judge Presiding.


    BRIEF AND APPENDIX OF PLAINTIFF-APPELLANT



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                    23-2367

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               Coalition Life v City of Carbondale

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                   JURISDICTIONAL STATEMENT

      The District Court had jurisdiction pursuant to 28 U.S.C. §§ 1331

and 1343, as well as 42 U.S.C. § 1983, as this matter arose under the

First and Fourteenth Amendments.

      This Court has jurisdiction over this appeal under 28 U.S.C. § 1291

because this is an appeal from a final order dismissing all of Plaintiff’s

claims under Fed. R. Civ. P. 12(b)(6), entered on July 6, 2023, and set out

in a separate document on July 19, 2023. A.1-3. Plaintiff timely filed its

notice of appeal on July 11, 2023, which was effective July 19, 2023. Dist.

Ct. Dkt. 17, Fed. R. App. P. 4(a)(2), 4(a)(7)(A)(ii), 4(a)(7)(B).

         STATEMENT CONCERNING ORAL ARGUMENT

      Oral argument is not necessary in this appeal, because the disposi-

tive issues herein were previously decided by the Supreme Court in Hill

v. Colorado, 530 U.S. 703 (2000), and the Seventh Circuit recently af-

firmed in Price v. Chicago, 915 F.3d 1107 (7th Cir. 2019) that Hill re-

mains viable and controlling until repealed by the High Court.




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                             INTRODUCTION

      In Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228 (2022),

the Supreme Court rightly observed that Roe v. Wade had, together with

its corollary in Planned Parenthood of Southeastern Pennsylvania v. Ca-

sey, “led to the distortion of many important but unrelated legal doc-

trines.” Id. at 2275.

      The Court expressly declared that one such distortion was the ut-

terly anomalous First Amendment decision in Hill v. Colorado, 530 U.S.

703 (2000). See Dobbs, 142 S. Ct. at 2276 & n.65. In Hill, the Supreme

Court upheld a blatantly content-based state statute virtually identical

to the one enacted by the City of Carbondale here. Both make it a crime,

within 100 feet of the entrance to a healthcare facility, to “approach

within 8 feet of another person, without that person’s consent, in order to

pass a leaflet or handbill to, displa[y] a sign to, or engag[e] in oral protest,

education, or counseling with [that] person…” Hill, 530 U.S. at 707; see

City Code of Carbondale, Illinois, 14-4-2(H). Dist. Ct. Dkt. 1-1 at 5.

      Dobbs cites Hill as the premier example of how the gravitational

pull of Roe-Casey on the whole fabric of constitutional law had “distorted

First Amendment doctrines” in particular. Dobbs, 142 S. Ct. at 2276.


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Indeed, as Justice Scalia observed 22 years earlier in his dissent in Hill,

“this regulation would be deemed content based in an instant if the case

before us involved antiwar protesters, or union members seeking to ‘edu-

cate’ the public about the reasons for their strike.” Hill, 530 U.S. at 742

(emphasis in original).

     In McCullen v. Coakley, 573 U.S. 464 (2014), and Reed v. Town of

Gilbert, 576 U.S. 155 (2015), the High Court signaled the end of the Hill

distortion, as this Court has rightly recognized even if Hill remains nom-

inally controlling. Quite simply: “Hill is incompatible with current First

Amendment doctrine as explained in Reed and McCullen.” Price v. City

of Chicago, 915 F.3d 1107, 1117 (7th Cir. 2019).

     Undeterred by the prospect of Hill’s demise as presaged in McCul-

len, Reed, and now Dobbs—indeed, in an obvious act of political pique in

retaliation for Dobbs—the City of Carbondale, Illinois enacted its own

“bubble zone” ordinance in January of this year, justified in part by the

preamble’s declaration that “in June, 2022 the United States Supreme

Court overturned the right to abortion with the decision of [sic] the Dobbs

v. Jackson [sic] case.”




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      Because Hill “remains on the books and directly controls here,”

Price, 915 F. 3d at 1119, this Court cannot directly rectify Carbondale’s

determination to perpetuate Hill’s grave distortion of First Amendment

doctrines. Agostini v. Felton, 521 U.S. 203, 237 (1997) (where a decision

“rest[s] on reasons rejected in some other line of decisions, Courts of Ap-

peals should follow the case which directly controls, leaving to [the Su-

preme] Court the prerogative of overruling [its] own decisions.”).

      However, Dobbs uniquely confirms that Carbondale’s Bubble Zone

is causing ongoing and actual irreparable harm as we speak. Thus, this

Court should timely send this case to the Supreme Court so that Plaintiff

Coalition Life and other sidewalk advocates for life can operate, not un-

der “an entirely separate, abridged edition of the First Amendment ap-

plicable to speech against abortion,” McCullen, 573 U.S. at 497 (Scalia,

J, concurring), but under the same First Amendment that has always

applied, without exception, to public forum advocates of every other law-

ful social or political objective in our nation.

                        STATEMENT OF ISSUE

      I. Whether the challenged Bubble Zone law violates the First

Amendment and must be invalidated according to the Supreme Court’s


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current First Amendment jurisprudence as clarified in McCullen v. Coak-

ley, 573 U.S. 464 (2014), and Reed v. Town of Gilbert, 576 U.S. 155 (2015),

requiring the overruling of Hill v. Colorado 530 U.S. 703 (2000).

                       STANDARD OF REVIEW

     The standard of review of a dismissal under Fed. R. Civ. P. 12(b)(6)

is de novo, accepting as true all well-pleaded factual allegations. Vicom,

Inc. v. Harbridge Merch. Servs., Inc., 20 F.3d 771, 775 (7th Cir. 1994).

                      STATEMENT OF THE CASE

     Plaintiff-Appellant Coalition Life and its sidewalk counselors coun-

sel, educate, pray, display signs, distribute literature, and otherwise

peacefully exercise their First Amendment rights on the public sidewalks

and rights-of-way outside abortion facilities and elsewhere on the public

ways in the City. They offer information and assistance to women ap-

proaching abortion facilities in order to inform and assist them in choos-

ing alternatives to entering the facilities for abortions, as well as to

express their deeply held religious convictions on a matter of great public

concern, indeed, a matter of life and death. Dist. Ct. Dkt. 1, Cmplt. ¶9.

     Coalition Life sidewalk counselors also attempt to engage potential

abortion customers in a one-on-one conversation in a calm, intimate


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manner to offer information about the dangers involved in abortion and

to offer alternatives to abortion and help in pursuing those alternatives.

Id. ¶10.

     Coalition Life’s sidewalk counselors’ experience has shown that it

is necessary to draw as near to the women as possible so they can make

eye-contact and speak from a normal conversational distance in a

friendly and gentle manner. In their experience, counseling women who

are considering whether to abort a child is a highly personal matter that

requires an approach which easily conveys the genuine care and empathy

offered by the sidewalk counselor. In addition, the alternatives to abor-

tion that are available differ depending on the personal needs and cir-

cumstances of the individual with whom the counselor is speaking.

Id. ¶11.

     Additionally, ambient noise from cars, trucks, emergency vehicles,

and so forth, coupled with the interference of clinic “escorts,” often make

it difficult for Coalition Life’s sidewalk counselors to effectively communi-

cate such an important, delicate, and consequential oral message from

distances greater than five feet. Id. ¶12.

     The counselors also attempt to hand helpful literature to the


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women, which requires them to stand near the path of pedestrians and

incoming vehicles, in order to approach and proffer pregnancy assistance

and educational literature to passersby who can easily take it from an

outstretched hand. Id. ¶13.

                       The “Bubble Zone” Ordinance

      On January 10, 2023, the City of Carbondale enacted the Bubble

Zone Ordinance, adding a new section to the Disorderly Conduct Ordi-

nance. The Bubble Zone Ordinance became codified as Section 14-4-2(H).

Dist. Ct. Dkt. 1-1 at 3. The Bubble Zone became effective the day after

it was enacted, January 11, 2023. Id. at 4. The challenged provision is

as follows:

      A person commits the offense of disorderly conduct when he
      knowingly:
                                     ***
      H. Knowingly [sic] approaches another person within eight
      feet of such person, unless such other person consents, for
      the purpose of passing a leaflet or handbill to, displaying a
      sign to, or engaging in oral protest, education, or counseling
      with such other person in the public way within a radius of
      100 feet from any entrance door to a hospital, medical clinic
      or healthcare facility . . . (emphasis added).

Id. at 5.

      The Bubble Zone creates large buffer zones, extending 100 feet in

all directions from any “entrance door to a hospital, medical clinic or
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healthcare facility” in the City, within which sidewalk counseling is ef-

fectively banned because of the prohibition on approaching within eight

feet of anyone, but only “for the purpose of passing a leaflet or handbill

to, displaying a sign to, or engaging in oral protest, education, or counsel-

ing” without that person’s consent.

      Because, as it boasts, Carbondale is “the hub of medical care in the

Southern Illinois region,”1 the Bubble Zone imposes the resulting vast

speech-restrictive buffer zones all over the city, even though the Bubble

Zone was supposedly designed only to address alleged issues at two newly

operational abortion facilities in town. See Dist. Ct. Dkt. 1-2 (Agenda

Item Details re: Ordinance).

      In fact, the City identified only two reasons for the Bubble Zone: (1)

that there were now daily “protests” at “reproductive healthcare facili-

ties” (i.e., abortion facilities); and (2) that there were calls for police as-

sistance relating to (a) trespass and (b) disorderly conduct. Id. Tellingly,

there was no mention of violence, arrests, convictions for any offense, or

even warnings related to unwanted approaches or alleged “harassment.”

Id.


1 See https://www.explorecarbondale.com/356/Hospitals-Healthcare.

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        Although the Bubble Zone as recommended and submitted to the

City Council on the Agenda would have imposed a buffer zone of fifty (50)

feet, the Bubble Zone as adopted imposes a buffer zone of twice the radius

at one hundred (100) feet. The City Attorney explained that the reason

for the last-minute doubling of the radius was that the layout of the two

specifically abortion-related facilities in Carbondale meant that a fifty-

foot buffer zone “doesn’t even get you off of the parking lot.”2 Dist. Ct.

Dkt. 1, Cmplt. ¶19. In other words, due to the rural or suburban nature

of Carbondale, a 100-foot buffer zone was necessary precisely to prohibit

the activity of sidewalk counselors at the two abortion facilities in ques-

tion.

        Although not mentioned in the Bubble Zone ordinance, the City ap-

pears to have some 153 “hospitals, medical clinics, or healthcare facili-

ties.” Dist. Ct. Dkt. 1-3 (List of Healthcare Facilities). The 100-foot buffer

zones around many of these facilities encompass vast stretches of public

property in Carbondale. In fact, the Bubble Zone imposes significant re-

strictions in the public rights-of-way around at least forty (40) healthcare


2 See Video of City Council meeting of January 10, 2023: video clip for

Agenda Item 8.3 at 39:00 – 39:47, https://carbon-
daleil.new.swagit.com/videos/226879
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facilities within the City. Dist. Ct. Dkt. 1-4 (aerial maps reflecting the

extent of the 100-foot buffer zones emanating from the multiple entrance

doors at these facilities).

      The anti-speech zones created by the Bubble Zone ordinance in-

fringe the free speech rights of Coalition Life pro-life sidewalk counselors

and others on the public streets and sidewalks without adequate justifi-

cation. There is no fit between the City’s purported concern about tres-

pass and disorderly conduct at healthcare facilities—for which there was

no competent evidence before the City Council—and the creation of vast

speech-free zones in the City. Moreover, the Bubble Zone’s preamble

makes it clear that its enactment was at least in part an official reaction

against the Dobbs decision and the First Amendment-protected activity of

the pro-life movement in Carbondale:

      WHEREAS, in June, 2022 the United States Supreme Court
      overturned the right to abortion with the decision of [sic] the
      Dobbs v. Jackson [sic] case; and

      WHEREAS, an increase in media and political attention as a
      result of the Dobbs v. Jackson [sic] case has resulted in an
      increase in activism and opposition from groups opposing
      abortion access; …

Dist. Ct. Dkt. 1-1 at 2 (emphasis added).

      In fact, the City had no legitimate law enforcement or public safety
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justification for the Bubble Zone at any location. Dedicated pro-life advo-

cates like Coalition Life sidewalk counselors have maintained a peaceful

presence outside the two abortion facilities for some time, with no mass

blockades, no arrests, no convictions, and no violence. Dist. Ct. Dkt. 1,

Cmplt. ¶22.

     Moreover, the City Attorney refused to answer a straightforward

question from one citizen concerning whether the Bubble Zone would pro-

hibit even an individual standing still within the buffer zone from engag-

ing in oral protest, education, or counseling or offering literature, thereby

subjecting such individual to possible arrest (or citation). Instead, the

City Attorney asserted that the matter would have to be discussed with

the police department and “would fall under the attorney-client privilege

and needs to be explored on a case-by-case basis.”3

     Indeed, the City’s primary rationale for the law seems to have been

a cathartic exercise of political rage against the Dobbs decision, and a

direct flouting of recent Supreme Court precedents undermining the con-

stitutionality of Bubble Zones as previously upheld in Hill. As one


3 See Video of City Council meeting of January 10, 2023: video clip for

Agenda Item 8.3 at 40:26 – 40:46, https://carbon-
daleil.new.swagit.com/videos/226879
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councilperson stated on the record here: “The Supreme Court, unfortu-

nately, is now just a lawless and partisan institution . . . Those decisions,

especially the Dobbs one over the summer is [sic] a raw exercise of naked

political power. That’s what we’re dealing with, and that’s unfortunate.”4

     The Bubble Zone, on its face, inflicts irreparable injury to the First

and Fourteenth Amendment rights of Coalition Life and others by effec-

tively prohibiting sidewalk counseling without the prior consent of the

listener, thereby creating a widespread ban on “unwanted” pro-life

speech, under pain of fines and imprisonment. Dist. Ct. Dkt. 1-1 at 5.

Defendant has enforced and will continue to enforce the Bubble Zone

through its officers, servants, agents, and employees, unless and until it

is judicially overturned. Dist. Ct. Dkt. 1, Cmplt. ¶25.

     Accordingly, Coalition Life commenced the action below on May 16,

2023, seeking declaratory and permanent injunctive relief against the

Bubble Zone. Dist. Ct. Dkt. 1 at 13. On June 9, 2023, the City filed a

motion to dismiss the Complaint under Rule 12(b)(6), relying on Hill and

this Court’s recognition that, despite its infirmities, Hill remains control-

ling. Dist. Ct. Dkt. 14. On the same date, Plaintiff filed its opposition to


4 Id. at 44:55 (Councilperson Mr. A. Loos).

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the motion, noting Hill’s infirmities and its probable demise, but conced-

ing that Hill and Price did control the outcome of the motion in the Dis-

trict Court. Dist. Ct. Dkt. 15 at 6. On July 6, 2023, the District Court,

accordingly, granted the motion to dismiss, but also noted that “[i]ndeed,

Coalition Life points out that the holding in Hill has eroded through the

years, most recently being cited by the Supreme Court for ‘distort[ing]

First Amendment doctrines.’” A.2 (quoting Dobbs, 142 S. Ct. at 2276 &

n.65). This timely appeal followed. Dist. Ct. Dkt. 17.

                      SUMMARY OF ARGUMENT

     The City of Carbondale, Illinois adopted an amended local ordi-

nance making it a criminal offense to knowingly “approach” another per-

son “for the purpose of passing a leaflet or handbill to, displaying a

sign to, or engaging in oral protest, education, or counseling with such

other person in the public way within a radius of 100 feet from any

entrance door to a hospital, medical clinic or healthcare facility.” (em-

phasis added). Under the Supreme Court’s anomalous decision in Hill

v. Colorado, upholding a substantially identical “bubble zone” ordi-

nance and applying only intermediate scrutiny, the Carbondale ordi-

nance would be valid. Accordingly, the District Court, constrained by


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Hill, dismissed Coalition Life’s Complaint under Rule 12(b)(6).

     But, as this Court has recognized in Price v. City of Chicago, 915

F.3d 1107, 1117 (7th Cir. 2019), Hill is “incompatible with current First

Amendment doctrine” as explained and clarified by the Supreme Court’s

post-Hill decisions in Reed v. Town of Gilbert and McCullen v. Coakley.

Id. at 1117. Under that current doctrine the Carbondale ordinance would

fail strict scrutiny, given the “function or purpose” test for content-based

discrimination as clarified by Reed and McCullen, as well as intermediate

scrutiny. And the Supreme Court itself, in the Dobbs decision, overruling

Roe v. Wade, singled out the decision in Hill as the example of how Roe

“distorted First Amendment doctrines.” Thus, Carbondale’s Bubble Zone

is unquestionably imposing ongoing and actual irreparable harm on Co-

alition Life, as explicitly confirmed by Dobbs.

     Nevertheless, failing the formal overruling of Hill by the Supreme

Court itself, which appears imminent, Coalition Life “must seek relief in

the High Court.” Price, 915 F.3d at 1119. Hence this appeal.




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                               ARGUMENT

I.   The City of Carbondale’s Bubble Zone Ordinance violates the First
     Amendment as a Content-Based Speech Restriction that Fails
     Strict Scrutiny, as well as intermediate scrutiny, under Supreme
     Court precedent as clarified post-Hill v. Colorado, which must be
     overruled.

     Public rights-of-way have, from “time out of mind, [] been used for

the purposes of assembly, communicating thoughts between citizens, and

discussing public questions.” Hague v. Comm. for Indus. Org., 307 U.S.

496, 515 (1939). And “speech on public issues . . . is entitled to special

protection.” Snyder v. Phelps, 562 U.S. 443, 452 (2011) (internal quotes

omitted).

     But in Hill, the Supreme Court upheld Colorado’s eight-foot bubble

zone despite its flagrant disregard of these values. The Court deemed the

law content-neutral because (a) it “was not adopted because of disagree-

ment with the message the speech conveys,” and (b) does not restrict

speech based on viewpoint or “subject matter,” even if it required a sup-

posedly “cursory examination” of speech to determine if it was for the

prohibited “purpose of . . . engaging in oral protest, education, or counsel-

ing.” Hill, 530 U.S. at 719-20, 722-23. Hill also held that the bubble zone




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satisfied intermediate scrutiny because it was narrowly tailored to pro-

tect the supposed “right to be let alone.” Id. at 716, 726-30.

     In McCullen v. Coakley, however, which involved a statutory 35-foot

anti-speech buffer zone around the driveways or entrance of abortion fa-

cilities, the Supreme Court reaffirmed the principle that public streets

and sidewalks “remain one of the few places where a speaker can be con-

fident that he is not simply preaching to the choir” and “a listener often

encounters speech he might otherwise tune out,” which “is a virtue, not

a vice.” 573 U.S. at 478. McCullen recognized that a speech restriction is

content-based “if it require[s] enforcement authorities to examine the

content . . . to determine whether a violation has occurred,” or if it is

concerned with the “undesirable effects that arise from . . . listeners’ re-

actions to speech,” such as “caus[ing] offense or ma[king] listeners un-

comfortable” outside abortion clinics. Id. at 481. The Court went on to

find the buffer zone in that case content-neutral only because it governed

where people spoke, not what they said. Id. at 479-80.

     But McCullen nonetheless held that the zone failed intermediate

scrutiny as it “compromise[d] petitioners’ ability to initiate the close, per-

sonal conversations that they view as essential to ‘sidewalk counseling’,”


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and “made it substantially more difficult” to “distribute literature to ar-

riving patients,” including “as drivers turn into the parking lots.” Id. at

488. McCullen recognized that “handing out leaflets [on] a politically con-

troversial viewpoint is the essence of First Amendment expression,” and

that sidewalk counselors “seek not merely to express their opposition to

abortion, but to inform women of various alternatives and to provide help

in pursuing them.” Id. at 488-89. The government failed to show that

draconian burdens on this speech were necessary to protect public safety

outside abortion clinics, in part because “existing local ordinances,” “gen-

eral criminal statutes” and targeted injunctions already furthered that

interest. Id. at 490-494.

     One year later, the Supreme Court further clarified the standard

for determining whether a speech restriction is content-based, and thus

subject to strict scrutiny, holding that the restriction “is content based if

[it] applies to particular speech because of the topic discussed or the idea

or message expressed.” Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 163

(2015). This “requires a court to consider whether a regulation of speech

‘on its face’ draws distinctions based on the message a speaker conveys,”

whether by its “subject matter” or its “function or purpose.” Id. at 163-


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164 (emphasis added). The Court thus struck down a sign ordinance fa-

cially distinguishing “Temporary Directional Signs,” “Political Signs,”

and “Ideological Signs.” The Court rejected the lower court’s reliance “on

this Court’s decision in Hill v. Colorado” in finding the law content-neu-

tral merely because the town “did not adopt its regulation [] because it

disagreed with the message conveyed.” Id. at 162-63, 164-72. The Su-

preme Court clarified that it “is incorrect” that a benign governmental

purpose is relevant “when a law is content based on its face.” Id. at 166-

67.

      In Price, this Court acknowledged that “Hill started from the prem-

ise that ‘[t]he principal inquiry in determining content neutrality . . . is

whether the government has adopted a regulation of speech because of

disagreement with the message it conveys,’” but “[a]fter Reed that’s no

longer correct. We now know that the first step in the content-neutrality

inquiry is to ask whether the challenged law is ‘content based on its face.’”

915 F.3d at 1117 (internal citations omitted).

      As this Court explained, on the issue of content-neutrality, Reed

makes clear that “a law is content based if it draws ‘more subtle’ facial

distinctions like those that ‘defin[e] regulated speech by its function or


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purpose.’ . . . And divining purpose clearly requires enforcement author-

ities ‘to examine the content of the message that is conveyed.’ How else

could the authorities distinguish between a sidewalk counselor (illegal)

and a panhandler, a pollster, or a passerby who asks for the time (all

legal)?” Id. at 1118 (internal citations omitted).

     The result, this Court rightly observed, is that the Supreme Court

has “‘effectively abolishe[d] any distinction between content regulation

and subject-matter regulation. Any law distinguishing one kind of speech

from another by reference to its meaning now requires a compelling jus-

tification.’” Id. (quoting Norton v. City of Springfield, 806 F.3d 411, 412

(7th Cir. 2015)).

     Moreover, this Court further explained that the McCullen decision

also “emphasized that”:

     a law is content based if it is ‘concerned with [the] undesirable
     effects that arise from the direct impact of speech on its audi-
     ence or listeners' reactions to speech.’ Yet Hill repeatedly cited
     concern for listeners’ reactions as an acceptable justification
     for Colorado's bubble-zone law. . . . The bubble-zone law up-
     held in Hill was aimed in substantial part at guarding against
     the undesirable effects of the regulated speech on listeners.
     After McCullen that's not a content-neutral justification.

     Id. (cleaned up) (emphasis in original). Finally, as this Court ob-

served concerning McCullen’s narrow-tailoring analysis: “Hill’s narrow-

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tailoring analysis conflicts with McCullen’s insistence that ‘the govern-

ment must demonstrate that alternative measures that burden substan-

tially less speech would fail to achieve [its] interests, not simply that the

chosen route is easier.’” Id.

      Accordingly, as this Court concluded, while Hill, remains control-

ling until the Supreme Court formally overrules it, Hill is nonetheless

“incompatible with current First Amendment doctrine as explained in

Reed and McCullen.” Price, 915 F.3d at 1117.

      Under Reed and McCullen, Carbondale’s criminalization of any “ap-

proach” to a person within eight feet “for the purpose of . . . engaging in

oral protest, education, or counseling,” without the person’s affirmative

consent, expressly restricts speech based on its substantive “purpose” and

so is blatantly content-based.

      Not to the contrary is City of Austin, Texas v. Reagan Nat’l Advert.

of Austin, LLC, 142 S. Ct. 1464, 1472-73. (2022), upholding an ordinance

distinguishing between on- and off-premises signs as content-neutral

even though it requires enforcers to read signs to determine whether they

direct viewers to off-premises locations. The Court held that the ordi-

nance does “not single out any topic or subject matter for differential


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treatment,” but requires review of a sign’s message “only to the extent

that it informs the sign’s relative location,” while its “substantive mes-

sage is irrelevant.” See id. at 1472-73. City of Austin thus affirms the

“substance or purpose” test for determining content-based discrimina-

tion. Moreover, in response to Justice Thomas’s observation (joined by

Justices Barrett and Gorsuch) that the majority “risk[s] resuscitating

Hill,” id. at 1492 (Thomas, J., dissenting), the majority specifically clari-

fied that “we do not . . . ‘resuscitat[e]’ a decision we do not cite.” Id. at

1475 (emphasis added).

     Furthermore, the Bubble Zone was adopted precisely because of an

improper concern with the impact or effect on listeners of pro-life advo-

cacy. McCullen, 573 U.S. at 479-480. See Dist. Ct. Dkt. 1, Cmplt. ¶17 &

Dist. Ct. Dkt. 1-2 (City citing daily “protests” at “reproductive health care

facilities”); Dist. Ct. Dkt. 1, Cmplt., ¶19 (extending radius of no-speech

zone from 50 feet to 100 feet because a 50-foot radius “doesn’t even get

you off of the parking lot” of the City’s abortion facilities); Dist. Ct. Dkt.

1-4 at 7 (Alamo Women’s Clinic, accessed through Synergy Therapeutic

Group); and id. at 22 (P. Choices Center for Reproductive Health)




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(showing 50-foot radius would only cover private parking lots of City’s

abortion facilities).

      Accordingly, under Reed and McCullen, the Bubble Zone would

have to undergo strict scrutiny, which it fails because its application to

all health clinics throughout the City, and its express prevention of pure

speech far short of disorderly conduct (including because such speech is

allegedly “unwanted” or controversial), clearly is not the least restrictive

means in furtherance of a compelling interest. See Thomas v. Rev. Bd. of

Indiana Emp. Sec. Div., 450 U.S. 707, 718 (1981); Brown v. Ent. Mer-

chants Ass’n, 564 U.S. 786, 799 (2011); see also Texas v. Johnson, 491

U.S. 397, 414 (1989) (it is a “bedrock principle underlying the First

Amendment” that “government may not prohibit the expression of an

idea simply because [it] finds the idea itself offensive or disagreeable”).

      Even if it were not content-based but rather facially neutral, the

Bubble Zone would also flunk the test of intermediate scrutiny. Restrict-

ing Plaintiff from peacefully approaching others on the public rights-of-

way to distribute a leaflet or counsel on abortion alternatives (outside

any health clinic in the city, no less) self-evidently “burden[s] substan-

tially more speech than is necessary” to further the purported interest in


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preventing clinic trespasses or disorderly conduct, McCullen, 573 U.S. at

486 (internal quotes omitted), and is not “actually necessary to the solu-

tion” of the purported government concern. Brown, 564 U.S. at 799. Car-

bondale also ignored the preferential option “of targeted injunctions as

alternatives to broad, prophylactic measures,” McCullen, 573 U.S. at 492,

as available under the Freedom of Access to Clinics Entrances (“FACE”)

Act, 18 U.S.C. § 248. It additionally “fail[ed] to look to less intrusive

means of addressing its concerns,” like “available generic criminal stat-

utes forbidding . . . trespass.” Id. “Nor has it shown that it considered

different methods that other jurisdictions have found effective.” Id. at

494.

       The Bubble Zone further fails intermediate scrutiny because there

is no evidence Coalition Life or any other pro-life sidewalk advocates have

violated any law in connection with their speech. Dist. Ct. Dkt. 1, Cmplt.

¶109.)5 Most instructive on this point is Schenck v. Pro-Choice Network


5 The City asserted below, without record support, that the information

and practical assistance Coalition Life and its sidewalk counselors peace-
fully offer those considering abortion is “interfering with the rights of
persons to be free in choosing the type of medical care they wish to seek.”
Dkt. 14 at 2. The City also tarred Coalition Life, again without support,
with alleged “numerous occasions around the Country in which interac-
tions between medical facility staff, patients, and protesters have turned
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of Western New York, 519 U.S 357 (1997). There the Supreme Court, ap-

plying only intermediate scrutiny, upheld an injunctive (not statutory)

15-foot buffer-zone around clinic doors and driveways against particular

defendants who had engaged in physical obstruction, but reversed the in-

junction’s prohibition of the same defendants’ non-obstructive leafletting

and counselling. Schenck, 519 U.S. at 380-81. That distinction alone

dooms the Bubble Zone’s prophylactic content-based restrictions on inno-

cent parties under intermediate, let alone strict, scrutiny. As this Court

observed in Price regarding McCullen:

     Recall McCullen's exhortation against the use of broad
     prophylactic regulations in speech-sensitive zones: “A painted
     line on the sidewalk is easy to enforce, but the prime objective
     of the First Amendment is not efficiency . . . . Given the vital
     First Amendment interests at stake, it is not enough for Mas-
     sachusetts simply to say that other approaches have not
     worked.” In stark contrast, Hill specifically approved the
     “bright-line prophylactic” aspect of Colorado’s bubble-zone
     law precisely because other less restrictive measures—e.g.,
     laws against harassment and breach of the peace—were
     harder to enforce.




violent and disorderly,” claiming that, in view of these supposed “occa-
sions,” the Bubble Zone was needed to “preserve the peace of the Com-
munity as a whole.” Id. These are not allowable reasons to restrict the
protected speech of Coalition Life and its sidewalk counselors in Carbon-
dale, Illinois.
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Price, 915 F.3d at 1118–19 (quoting McCullen, 134 S.Ct. at 2540 and Hill,

530 U.S. at 729) (emphasis in original).

     Therefore, under Reed and McCullen the Bubble Zone cannot sur-

vive strict or intermediate scrutiny. Yet, despite recognizing that “McCul-

len and Reed have deeply shaken Hill’s foundation,” this Court was

constrained to hold that “the case [Hill] remains on the books and directly

controls here.” Id. at 1119. That remains true even though, as noted

above, after this Court’s decision in Price, the Supreme Court in Dobbs

cited Hill as the premier example of how Roe “distorted First Amendment

doctrines,” 142 S. Ct. at 2276 & n.65, thus further signaling its imminent

demise.

     For all these reasons, Plaintiff argues that Hill and Price were

wrongly decided, are irreconcilable with intervening precedent, and

should be overruled by the Supreme Court and this Court respectively.

Before Dobbs, Hill was on life support. After Dobbs, Hill’s intubation has

been removed and it cannot be sustained under any theory. Plaintiff is

suffering actual and ongoing irreparable harm as a result.

     Nevertheless, because Carbondale’s bubble zone ordinance is nearly

identical to the one at issue in Price, and because the claims asserted by


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Coalition Life here, under the First and Fourteenth Amendment and re-

lated provisions of the Illinois Constitution, are identical to the claims of

the plaintiffs in Price, see 915 F.3d at 1110, Plaintiff must concede that

Price precludes reversal of Hill by this Court.

      But Price does not preclude this Court’s necessary send-off to the

Supreme Court with a further acknowledgment of what Price itself de-

clares, as made even clearer in Dobbs: that the anomaly of Hill cannot be

reconciled with Reed and McCullen or indeed with the corpus of the Su-

preme Court’s free speech precedents as a whole. Nor is this Court pre-

cluded from expressing the entirely appropriate view that Hill ought to

be overruled for the sake of the integrity of our nation’s tradition of robust

protection for public forum speech under the First Amendment, without

any exclusion for pro-life speech.

                              CONCLUSION

      The Bubble Zone cannot be sustained under current Supreme Court

jurisprudence on public forum speech. Dobbs expressly and uniquely con-

firmed that Bubble Zones like Carbondale’s impose ongoing irreparable

harm on pro-life speakers. Hill must be overruled, and Carbondale’s




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Bubble Zone then invalidated by this Court, with direction to the District

Court to enter a permanent injunction against its enforcement.

                                  Respectfully submitted,

                                  /s/ Peter Breen
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                   CIRCUIT RULE 30(d) STATEMENT
        Pursuant to Circuit Rule 30(d), counsel certifies that all material

required by Circuit Rule 30(a) and (b) are included in the Appendix.

                                    /s/ Peter Breen




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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

 COALITION FOR LIFE ST.
 LOUIS d/b/a COALITION LIFE,

                      Plaintiff,
                                            Case No. 23-cv-01651-SPM
 v.

 CITY OF CARBONDALE,
 ILLINOIS,

 Defendant.

                       MEMORANDUM AND ORDER

McGLYNN, District Judge:

       On May 16, 2023, plaintiff Coalition Life filed its Complaint for Civil Rights

Violations, Injunctive Relief, and Declaratory Judgment against defendant, City of

Carbondale “Carbondale” (Doc. 1). Specifically, Coalition Life raises numerous

Constitutional challenges against Carbondale’s newly enacted “Bubble Zone

Ordinance” (Id.).

       Pending before the Court is a Motion to Dismiss filed by defendant, City of

Carbondale (“Carbondale”), which argues that dismissal is warranted as both

Seventh Circuit and Supreme Court precedent bind this Court (Doc. 14); see also Hill

v. Colorado, et al., 530 U.S. 703 (2000); Price v. City of Chicago, 915 F.3d 1107 (7th

Cir. 2019). In Hill, the Supreme Court upheld a similar “bubble zone” Colorado

statute as a content-neutral time, place and matter restriction. Hill, 530 U.S. at 719-

720. More recently, this Circuit upheld a similar “bubble zone” ordinance enacted by

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the City of Chicago after holding that Hill remained good law and directly controlled

the issue, even though Hill was decided more than twenty years ago and appears

inconsistent with other Supreme Court decisions. Price, 915 F.3d at 1119 (“While the

Supreme Court has deeply unsettled Hill, it has not overruled the decision. So it

remains binding on us.”).

      It its response, Coalition Life maintains that Carbondale’s abortion “bubble

zone” ordinance flagrantly violates the Free Speech Clause of the First Amendment

(Doc. 15). Indeed, Coalition Life points out that the holding in Hill has eroded through

the years, most recently being cited by the Supreme Court for “distort[ing] First

Amendment doctrines”. Dobbs v. Jackson Women’s Health Org., 142 S.Ct 2228, 2276

& n. 65 (2022). Nevertheless, Coalition Life concedes that the Price and Hill decisions

preclude Coalition Life from succeeding, unless and until Price or Hill are overruled

(Doc. 15).

                                   CONCLUSION

      For the reasons set forth above, defendant City of Carbondale’s motion to

dismiss is GRANTED in its entirety.

IT IS SO ORDERED.

DATED: July 6, 2023

                                               s/ Stephen P. McGlynn_
                                               STEPHEN P. McGLYNN
                                               U.S. District Judge




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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

 COALITION FOR LIFE ST. LOUIS
 d/b/a COALITION LIFE,

                     Plaintiff,
                                             Case No. 23-cv-01651-SPM
 v.

 CITY OF CARBONDALE, ILLINOIS,

 Defendant.

                           JUDGMENT IN A CIVIL CASE

       This action came before the Court, District Judge Stephen P. McGlynn, for

consideration of a Motion to Dismiss filed by defendant, City of Carbondale, Illinois (Doc.

14).

       IT IS ORDERED AND ADJUDGED that pursuant to the Memorandum and

Order dated July 6, 2023 (Doc. 16), said motion was granted in favor of Defendant.

Plaintiff did not seek any other relief; therefore, this action is DISMISSED without

prejudice, each party to bear own costs.

       Accordingly, the Clerk of Court is directed to close this case.

IT IS SO ORDERED.

DATED: July 19, 2023
                                         MONICA A. STUMP,
                                         Clerk of Court

                                         By: s/ Jackie Muckensturm
                                         Deputy Clerk


APPROVED: s/ Stephen P. McGlynn
          STEPHEN P. MCGLYNN
          U.S. District Court Judge




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